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                              UNITED STATES DISTRICT COURT

                               MIDDLE DISTRICT OF LOUISIANA



           DAVID HSIEH                                                          CIVIL ACTION

           VERSUS

           BADGER OIL CORPORATION, ET                                 NO. 19-00408-BAJ-DPC
           AL.

                                                ORDER

              This action is currently set for a fourteen-day jury trial beginning April 11,

       2022. A pre-trial conference is set for February 9, 2022 at 3:00 p.m.

              The Magistrate Judge’s March 3, 2021 Scheduling Order (Doc. 148) set

       deadlines of December 6, 2021 for submission of the parties’ joint pretrial order, and

       January 10, 2022 for submission of affidavits of settlement efforts. These deadlines

       have now passed, and no such pleadings appear in the record. Indeed, all discovery

       and pleading deadlines set forth in the March 3 Scheduling Order have expired, and

       there are no motions pending.

              Additionally, the record shows that thirty (30) of the original thirty-six (36)

       named Defendants have either been dismissed from this action, or settled their claims

       with Plaintiff.1 Of the six remaining named Defendants, five have not made



       1 These Defendants are: (1) The Allan Company (See Docs. 11, 18); (2) Pintail Minerals
       Corporation (Doc. 102); (3) Diamond Offshore Drilling, Inc. (Doc. 104); (4) Cypress Energy
       Corporation (Doc. 152); (5) Badger Oil Corporation (Doc. 154); (6) Klentos Production
       Corporation (Doc. 154); (7) Riceland Petroleum Company (Doc. 157); (8) ConocoPhillips
       Company (Doc. 208); (9) Chevron Phillips Chemical Company, LP (Doc. 227); (10) Key
       Exploration Company (Doc. 235); (11) Sunbelt Energy, Ltd. (Doc. 235); (12) Shell Offshore,
       Inc. (Doc. 236); (13) Shell Oil Company (Doc. 236); (14) SWEPI LP (Doc. 236); (15) BP America




JURY
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appearances (Boo-ker Oil & Gas Corp., El-Oil, Ltd., Flash Gas & Oil Southwest, Inc.,

Petro-Chem Equipment Company, Inc., and W. R. Grace & Co.-Conn.). It is unclear

from the record, however, whether Plaintiff has also settled his claims with these

Defendants, and/or they were dismissed prior to removal of Plaintiff’s action from

state court. The last remaining Defendant, ENSCO Offshore Company, is protected

from continued litigation by the U.S. Bankruptcy Code’s mandatory stay provision,

11 U.S.C. § 362. (Doc. 136).

       Accordingly, in light of the foregoing,

       IT IS ORDERED that the April 11, 2022 jury trial of the above-captioned

matter be and is hereby CONTINUED.

       IT IS FURTHER ORDERED that the February 9, 2022 pretrial conference

be and is hereby CONTINUED.

       IT IS FURTHER ORDERED that on or before February 9, 2022, Plaintiff

shall submit a status report setting forth Plaintiff’s remaining claims against

remaining Defendants Boo-ker Oil & Gas Corp., El-Oil, Ltd., ENSCO Offshore

Company, Flash Gas & Oil Southwest, Inc., Petro-Chem Equipment Company, Inc.,

and W. R. Grace & Co.-Conn. In the alternative, Plaintiff shall immediately submit

notices of settlement as to these remaining Defendants consistent with the



Inc. (Doc. 238); (16) BP Corporation North America Inc. (Doc. 238); (17) BP Products North
America Inc. (Doc. 238); (18) Chevron U.S.A. Inc. (Doc. 239); (19) Schlumberger Ltd. Company
(Doc. 242); (20) Schlumberger Technology Corporation (Doc. 242); (21) Texaco Inc. (Doc. 241);
(22) Apache Deepwater, LLC (Doc. 246); (23) Baker Hughes Oilfield Operations LLC (Doc.
246); (24) Baker Hughes, a GE Company, LLC (Doc. 246); (25) Montello, Inc. (Doc. 246); (26)
Murphy Exploration & Production Company (Doc. 246); (27) Nustar Pipeline Company, LLC
(Doc. 246); (28) Union Carbide Corporation (Doc. 246); (29) Exxon Mobil Corporation (Doc.
249); (30) ExxonMobil Oil Corporation (Doc. 249).
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requirements of Local Civil Rule 16(c), and/or notices of dismissal consistent with the

requirements of Federal Rule of Civil Procedure 41(a)(1).

      Failure to satisfy the deadlines set forth in this Order may result in

sanctions and penalties, including dismissal of the above-captioned action.

                             Baton Rouge, Louisiana, this 4th day of February, 2022



                                        _____________________________________
                                        JUDGE BRIAN A. JACKSON
                                        UNITED STATES DISTRICT COURT
                                        MIDDLE DISTRICT OF LOUISIANA




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